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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CONVERSE INC.,
                                                      No. 21-cv-05701
               Plaintiff,
                                                      Judge Franklin U. Valderrama
v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.


                      SEALED TEMPORARY RESTRAINING ORDER

        THIS CAUSE being before the Court on Plaintiff Converse Inc.’s (“Plaintiff” or

“Converse”) Ex Parte Motion for Entry of a Temporary Restraining Order, Including a

Temporary Injunction, a Temporary Asset Restraint, and Expedited Discovery [R. 11], and

Motion for Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(f)(3) [R. 16] (the

“Motions”) against the fully interactive, e-commerce stores 1 operating under the seller aliases

identified in Schedule A to the Complaint and attached hereto (collectively, the “Seller Aliases”

or “Defendants”), and the Court having heard the evidence before it hereby GRANTS Plaintiff’s

Motions in their entirety.

        The Court further finds that it has personal jurisdiction over the Defendants based on

Plaintiff’s unrebutted assertions that the Defendants directly target their business activities

toward consumers in the United States, including Illinois. Specifically, Plaintiff has provided a

basis to conclude that Defendants have targeted sales to Illinois residents by setting up and

operating e-commerce stores that target United States consumers using one or more Seller

1
 The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
                                                 1
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   Aliases, offer shipping to the United States, including Illinois, accept payment in U.S. dollars,

   and have sold products using infringing and counterfeit versions of Converse’s federally

   registered trademarks (“Converse Trademarks”) to residents of Illinois. In this case, Plaintiff has

   presented screenshot evidence that each Defendant e-commerce store is reaching out to do

   business with Illinois residents by operating one or more commercial, interactive internet stores

   through which Illinois residents can and do purchase products using counterfeit versions of the

   Converse Trademarks. See Exhibit 3 to the Declaration of Joe Pallett (R. 15), which includes

   screenshot evidence confirming that each Defendant internet store does stand ready, willing and

   able to ship its counterfeit goods to customers in Illinois bearing infringing and/or counterfeit

   versions of the Converse Trademarks. A list of the Converse Trademarks is included in the

   below chart.

Registration
                              Trademark                                Goods and Services
 Number
                                                          For: Athletic shoes of rubber and fabric in
  369,971                     ALL STAR                    class 25

                                                          For: Clothing-namely, industrial boots, rubber
                                                          boots, tennis shoes, basketball shoes, boat
                                                          shoes, general purpose athletic sneakers,
  868,375                    CONVERSE
                                                          casual shoes, jackets, trousers, parkas, shirts,
                                                          raincoats in class 25

                                                          For: Footwear in class 25
 1,206,260                    SKIDGRIP
                                                          For: All Purpose Sports Bags in class 18
 1,275,191                    ALL STAR
                                                          For: Shirts in class 25
 1,276,236                    ALL STAR
                                                          For: Footwear in class 25
 1,493,265                      CONS
                                                          For: Clothing; namely, knit T-shirts, woven
                                                          shirts, knit and woven pants, sports caps and
 1,790,496                      CONS                      knit caps, and spandex exercise wear; namely,
                                                          T-shirts, sweat pants, shorts, and tank tops in
                                                          class 25

                                                   2
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                                               For: Clothing; namely, knit T-shirts, collar
                                               placket shirts, woven shirts, swimwear, knit
                                               and woven shorts, knit and woven pants, tank
1,868,363              CONVERSE                tops, fleece tops and bottoms, wind resistant
                                               suits and jackets, sports caps and knit caps in
                                               class 25

                                               For: Computer services, namely, providing an
                                               interactive database of information on
2,453,856           CONVERSE.COM               clothing, footwear, sporting equipment and
                                               activities, and sports personalities in class 42

                                               For: Wirebound books, wirebound hardback
2,466,322              CONVERSE                books, ballpoint pens in class 16

                                               For: Footwear in class 25
2,683,548               WEAPON
                                               For: Footwear in class 25
2,807,854              ALL STAR
                                               For: Socks in class 25
2,810,717              CONVERSE
                                               For: Eyeglasses, sunglasses, all purpose sports
                                               goggles, optical frames and accessories
2,869,353              CONVERSE
                                               therefor in class 9

                                               For: Sports bags in class 18
2,872,822              CONVERSE
                                               For: Retail store services featuring footwear,
                                               clothing, sports bags and book bags in class
3,175,430              CONVERSE
                                               35

                                               For: Footwear in class 25
3,191,460              FIRST STAR
                                               For: Shoe laces in class 26
3,289,613              CONVERSE
                                               For: Footwear; clothing, namely, t-shirts, tank
                                               tops and sweat shirts, headgear, namely,
3,534,741           CHUCK TAYLOR
                                               sports caps and knit caps in class 25

                                               For: Footwear in class 25
3,847,775            STAR PLAYER
                                               For: Recording studio services; Recording
4,417,013           RUBBER TRACKS              studios in class 41

5,722,153              CHUCK 70                For: Footwear in class 25

                                         3
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                                               For: Boots and shoes made of or containing
                                               rubber in class 25

121,760



                                               For: Shoes made of rubber, leather, fabric,
                                               and combinations thereof in class 25

315,273



                                               For: Rubber-soled canvas shoes for the use of
                                               men, women, and children in class 25
583,097


                                               For: Canvas-Topped, Rubber-Soled Athletic
                                               Shoes in class 25
741,662



                                               For: Basketball shoes, general purpose
                                               athletic sneakers in class 25
924,169


                                               For: Footwear-namely, rubber-soled or
                                               plastic-soled canvas shoes in class 25
938,918



                                               For: Footwear in class 25



1,078,480




                                         4
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                                               For: Footwear in class 25

1,138,468


                                               For: Footwear in class 25

1,138,469


                                               For: Footwear in class 25

1,146,876


                                               For: Shirts in class 25


1,215,935



                                               For: Socks in class 25


1,525,779



                                               For: Footwear in class 25


1,632,413



                                               For: Clothing; namely, footwear in class 25
1,654,951

                                               For: All-purpose sports bags in class 18


1,738,330




                                         5
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                                               For: Footwear in class 25


1,789,476



                                               For: Clothing; namely, knit T-shirts, collar
                                               placket shirts, knit and woven shorts, woven
1,804,563                                      pants, tank tops, fleece tops and bottoms,
                                               wind resistant suits and jackets sports caps in
                                               class 25
                                               For: Footwear in class 25

1,868,414


                                               For: Clothing; namely, T-shirts, shorts, tank
                                               tops, sweatsuits, vests, pants, jackets, and
                                               outerwear; namely, lined jackets in class 25
1,877,671




                                               For: Clothing; namely, T-shirts, shorts, tank
                                               tops, sweatsuits, vests, pants, jackets,
                                               sweaters, jeans and outerwear; namely, lined
1,981,319                                      jackets, and nylon jackets in class 25



                                               For: Headwear, namely, sport and knit hats
                                               and caps in class 25

2,063,154



                                               For: Athletic footwear, and clothing, namely,
                                               T-shirts, shorts, hats, jackets, tank tops,
                                               sweatpants and sweatshirts in class 25
2,098,296




                                         6
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                                               For: T-shirts in class 25


2,435,788



                                               For: Clothing namely, t-shirts in class 25


2,435,789



                                               For: Book bags and briefcases-style portfolios
                                               in class 18


2,466,301




                                               For: Apparel, namely, warm-up suits, shirts,
                                               pants, jackets and shorts in class 25

2,856,926



                                               For: Footwear in class 25



2,973,804




                                               For: Footwear; clothing, namely, t-shirts,
                                               short and long sleeved tops, short and long
                                               sleeved t-shirts, exercise wear, namely, sweat
3,481,708                                      suits, and headgear, namely, sports caps in
                                               class 25




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                                               For: Canvas and imitation leather topped soft
                                               soled athletic shoes and casual shoes in class
1,053,338                                      25


                                               For: Athletic footwear in class 25


1,490,262




                                               For: Athletic footwear in class 25



1,588,960




                                               For: Footwear in class 25


1,658,256



                                               For: Footwear in class 25



1,998,884




                                               For: Footwear in class 25



3,258,103




                                         8
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                                                         For: Athletic footwear in class 25




4,062,112




                                                         For: Athletic footwear in class 25




4,065,482




                                                         For: Footwear in class 25


4,398,753




        The Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

 the Federal Rules of Civil Procedure is appropriate because Converse has presented specific facts

 in the Declaration of Joe Pallett [14], paragraphs 28–33, and the Declaration of Justin R. Gaudio

 [13], paragraphs 5–11, in support of the Motion for Temporary Restraining Order and

 accompanying evidence clearly showing that immediate and irreparable injury, loss, or damage

 will result to the movant before the adverse party can be heard in opposition. Specifically, in the

 absence of an ex parte Order, Defendants could and likely would move any assets from accounts

 in financial institutions under the Court’s jurisdiction to off-shore accounts. As other courts have

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recognized, proceedings against those who deliberately traffic in counterfeit merchandise are

often useless if notice is given to the adverse party. Accordingly, the Court orders that:

1.       Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

         and all persons acting for, with, by, through, under or in active concert with them be

         temporarily enjoined and restrained from:

         a. using the Converse Trademarks or any reproductions, counterfeit copies or colorable

            imitations thereof in any manner in connection with the distribution, marketing,

            advertising, offering for sale, or sale of any product that is not a genuine Converse

            product or not authorized by Converse to be sold in connection with the Converse

            Trademarks;

         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Converse product or any other product produced by Converse, that is not Converse’s

            or not produced under the authorization, control or supervision of Converse and

            approved by Converse for sale under the Converse Trademarks;

         c. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control or supervision of Converse, or

            are sponsored by, approved by, or otherwise connected with Converse;

         d. further infringing the Converse Trademarks and damaging Converse’s goodwill; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Converse, nor authorized by

            Converse to be sold or offered for sale, and which bear any of Converse’s trademarks,




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            including the Converse Trademarks, or any reproductions, counterfeit copies or

            colorable imitations thereof.

2.       Upon Converse’s request, any third party with actual notice of this Order who is

         providing services for any of the Defendants, or in connection with any of Defendants’

         Online Marketplaces, including, without limitation, any online marketplace platforms

         such as eBay, Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd. (“Alibaba”),

         Amazon.com, Inc. (“Amazon”), ContextLogic Inc. d/b/a Wish.com (“Wish.com”), and

         Dhgate (collectively, the “Third Party Providers”) shall, within ten (10) business days

         after receipt of such notice, provide to Converse expedited discovery, including copies of

         all documents and records in such person’s or entity’s possession or control relating to:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with them,

            including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, as well as providing a full accounting of Defendants’ sales and listing

            history related to their respective Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their agents,

            servants, employees, confederates, attorneys, and any persons acting in concert or

            participation with them, including such accounts residing with or under the control of

            any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), eBay, Alipay,



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            Alibaba, Ant Financial Services Group (“Ant Financial”), Wish.com, Amazon Pay, or

            other merchant account providers, payment providers, third party processors, and

            credit card associations (e.g., MasterCard and VISA).

3.       Upon Converse’s request, those with notice of the injunction, including Third Party

         Providers as defined in Paragraph 2, shall, within ten (10) business days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods using the

         Converse Trademarks.

4.       Defendants shall be temporarily restrained and enjoined from transferring or disposing of

         any money or other of Defendants’ assets until further ordered by the Court.

5.       Any Third Party Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial,

         Wish.com, and Amazon Pay, shall, within ten (10) business days of receipt of this Order:

         a. locate all accounts and funds connected to Defendants’ Seller Aliases and Online

            Marketplaces, including, but not limited to, any financial accounts connected to the

            information listed in Schedule A hereto, the e-mail addresses identified in Exhibit 3 to

            the Declaration of Joe Pallett, and any e-mail addresses provided for Defendants by

            third parties; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further ordered by the Court.

6.       Converse is authorized to issue expedited written discovery, pursuant to the Federal

         Rules of Civil Procedure 33, 34 and 36, related to:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in active concert or participation with



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            them, including all known contact information, including any and all associated e-

            mail addresses; and

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, as well as providing a full accounting of Defendants’ sales and listing

            history related to their respective Online Marketplaces.

         Converse is authorized to issue any such expedited discovery requests via e-mail.

         Defendants shall respond to any such discovery requests within three (3) business days of

         being served via e-mail.

7.       Converse may provide notice of these proceedings to Defendants, including notice of the

         preliminary injunction hearing, service of process pursuant to Fed. R. Civ. P. 4(f)(3), and

         any future motions, by electronically publishing a link to the Complaint, this Order and

         other relevant documents on a website and by sending an e-mail to the e-mail addresses

         identified in Exhibit 3 to the Declaration of Joe Pallett and any e-mail addresses provided

         for Defendants by third parties that includes a link to said website. The Clerk of the

         Court is directed to issue a single original summons in the name of “The Partnerships and

         all other Defendants identified in the Complaint” that shall apply to all Defendants. The

         combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice

         reasonably calculated under all circumstances to apprise Defendants of the pendency of

         the action and afford them the opportunity to present their objections.




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8.       Schedule A to the Complaint [2], Exhibit 3 to the Declaration of Joe Pallet [15], and this

         Order shall remain sealed until further ordered by the Court or until this Order expires,

         whichever occurs first.

9.       By November 5, 2021 at 6:00 p.m., Converse shall deposit with the Court ten thousand

         dollars ($10,000.00), either cash or surety bond, as security, which amount has, in the

         absence of adversarial testing, been deemed adequate for the payment of such damages as

         any person may be entitled to recover as a result of a wrongful restraint hereunder.

10.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

         and Northern District of Illinois Local Rules. Any third party impacted by this Order

         may move for appropriate relief.

11.      Provided that Converse posts the security as described in paragraph 9 by the date and

         time indicated in paragraph 9, this Temporary Restraining Order without notice shall

         become effective on November 5, 2021 at 6:00 p.m. and shall remain in effect for

         fourteen (14) days.




Date: November 4, 2021
                                                      United States District Judge
                                                      Franklin U. Valderrama




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Converse Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule
                               "A" - Case No. 21-cv-5701
                                      Schedule A


                                Defendant Online Marketplaces
No       URL                                   Name / Seller Alias
1        ahxihuishoes.en.alibaba.com           Anhui Xihui Import And Export Co., Ltd.
2        biyate.en.alibaba.com                 Xiamen Biyate Imp. & Exp. Co., Ltd.
3        calmness.en.alibaba.com               Quanzhou Kangningshi Environmental
                                               Protection Technology Co., Ltd.
4        cnkedexin.en.alibaba.com              Yong 'an City Yan Nan Street Ke Dexin
                                               Clothing Store
5        docenfootwear.en.alibaba.com          Xiamen Mango Fashion Shoes Trade Co., Ltd.
6        gloryfootwear.en.alibaba.com          Qingdao Glory Footwear Co., Ltd.
7        guipaishoes.en.alibaba.com            Zhejiang Guipai Shoes Co., Ltd.
8        heated.en.alibaba.com                 Shenzhen Hongjiali Technology Co., Ltd
9        hnywdf.en.alibaba.com                 Yiwu Dafeng Import And Export Co., Ltd.
10       hotshoes.en.alibaba.com               Taizhou Linfeng Shoes Co., Ltd.
11       houshen.en.alibaba.com                Wenzhou Duocheng Foreign Trade Co., Ltd.
12       huankun.en.alibaba.com                Yiwu Huankun International Trade Co., Ltd.
13       ifanshoes.en.alibaba.com              Zhaoxian Xiaoteng Medical Instrument Co.,
                                               Ltd.
14       insgear.en.alibaba.com                Unique (Quanzhou) Light Industry Co., Ltd.
15       itecshoes.en.alibaba.com              Xiamen Itec Shoes Co., Ltd.
16       jazbasport.en.alibaba.com             Xiamen SMD Light Industry Co., Ltd.
17       jeechu.en.alibaba.com                 Yiwu Jeechu Trading Co., Ltd.
18       jerryfootprint.en.alibaba.com         Xiamen Jerryfootprint Imp & Exp Co., Ltd.
19       jinbeile.en.alibaba.com               Quanzhou Luojiang District Baitao Trading
                                               Co., Ltd.
20       kaijunshoes.en.alibaba.com            Wenling Kaijun Shoes Co., Ltd.
21       kuntusi.en.alibaba.com                Yiwu Kuntusi Shoes Co., Ltd.
22       ljshoes150.en.alibaba.com             Rui'an Lingjue Shoes Co., Ltd.
23       momkids.en.alibaba.com                Yiwu Dongtai Mom&kids Products Co., Ltd.
24       naitejck.en.alibaba.com               Shaoxing Naite Import And Export Co., Ltd.
25       pinyizc.en.alibaba.com                Quanzhou Pinyi Zhongchuang Space Trading
                                               Co., Ltd.
26       qijitrading.en.alibaba.com            Yiwu Qiji Trading Co., Ltd.
27       qzdesigndreams.en.alibaba.com         Quanzhou Youmeng E-Commere Co., Ltd.
28       qzjh-sports.en.alibaba.com            Quanzhou Jinhong Import And Export Co.,
                                               Ltd.
29       qzwisdom.en.alibaba.com               Quanzhou Zhiwen Hongxuan Media Culture
                                               Co., Ltd.


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30       qzyhmy.en.alibaba.com              Quanzhou Yinghao Trading Co., Ltd.
31       qzyunzhan.en.alibaba.com           Quanzhou Yunzhan Electronic Commerce Co.,
                                            Ltd.
32       qzywwl.en.alibaba.com              Quanzhou Yewei Network Technology Co.,
                                            Ltd.
33       qzzz.en.alibaba.com                Xiamen Zhuzhu Network Technology Co., Ltd.
34       sakatrade2016.en.alibaba.com       Wenzhou Saiya Trade Co., Ltd.
35       scmskj.en.alibaba.com              Sichuan Miaoshan Technology Co., Ltd.
36       shonsn.en.alibaba.com              Quanzhou Orange Peel E-Commerce Co., Ltd.
37       shxsgroup.en.alibaba.com           Shanghai Xiangsheng Trade Co., Ltd.
38       startravel.en.alibaba.com          Wenzhou Star Travel Trading Co., Ltd.
39       suopin.en.alibaba.com              Shenzhen Suopin Technology Co., Ltd.
40       todomore.en.alibaba.com            Quanzhou Yuanshang Grass Trading Co., Ltd.
41       uniyang.en.alibaba.com             Quanzhou Uniyang Imp&Exp Trade Co., Ltd.
42       withoff.en.alibaba.com             Ruian Guangyuan Trading Co., Ltd.
43       wowholo.en.alibaba.com             Yiwu Wowholo Technology Co., Ltd.
44       wuhushoes.en.alibaba.com           Wangdu Wuhu Trading Co., Ltd.
45       wzbsa.en.alibaba.com               Wenzhou Boshiao Imp & Exp Trade Co., Ltd.
46       wzdhshoes.en.alibaba.com           Wenzhou Johan Import&Export Trading Co.,
                                            Ltd.
47       wzhwmy.en.alibaba.com              Wenzhou Hongwei Trading Co., Ltd.
48       wzmingyi.en.alibaba.com            wzmingyi.en.alibaba.com
49       xiaotengyiliao.en.alibaba.com      Quanzhou Moqi Culture Development Co.,
                                            Ltd.
50       xinqishoes.en.alibaba.com          Quanzhou Xinqi Trading Co., Ltd.
51       yuanke888.en.alibaba.com           Wenling Houshen Import And Export Co., Ltd.
52       ywhengzun.en.alibaba.com           Yiwu Hengzun Import And Export Co., Ltd.
53       ywkana.en.alibaba.com              Yiwu Kana E-Commerce Firm
54       ywzhihua.en.alibaba.com            Yiwu Zhihua Trade Co., Ltd.
55       zujuyoupin.en.alibaba.com          Quanzhou Zuju Youpin Shoes And Clothing
                                            Co., Ltd.
56       zyen.en.alibaba.com                Quanzhou Yudong Electronic Commerce Co.,
                                            Ltd.
57       zzyoulike.en.alibaba.com           Zhangzhou Yolaike Network Technology Co.,
                                            Ltd.
58       aliexpress.com/store/1196828       YYW SPORTING Store
59       aliexpress.com/store/1250127       Vovacom Store
60       aliexpress.com/store/2251003       Redheavenstar Store
61       aliexpress.com/store/2901072       Lizzzzard Store
62       aliexpress.com/store/2962286       Cosicon Store
63       aliexpress.com/store/3091103       Babaya Footwear Store
64       aliexpress.com/store/3103085       ZOO Store
65       aliexpress.com/store/3198060       Aunt boutique Store


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66    aliexpress.com/store/3362020       XGRAVITY Official Store
67    aliexpress.com/store/3588003       Cytor Skates Store
68    aliexpress.com/store/418622        Alice's Cosy Life Store
69    aliexpress.com/store/4432204       xixili Store
70    aliexpress.com/store/4648141       Shining Stone Official Store
71    aliexpress.com/store/4990449       SIMPLEXEVER Official Store
72    aliexpress.com/store/5362095       Affordable shoe Store
73    aliexpress.com/store/5370240       Shop5370240 Store
74    aliexpress.com/store/5486256       Shop5486256 Store
75    aliexpress.com/store/5496172       Shop5496172 Store
76    aliexpress.com/store/5513035       lisujie Store
77    aliexpress.com/store/5592424       Skates Store
78    aliexpress.com/store/5597296       Son of Light Store
79    aliexpress.com/store/5619081       XY Cos Costume Store
80    aliexpress.com/store/5627134       Zilingo Store
81    aliexpress.com/store/5630144       L Zhi Store
82    aliexpress.com/store/5725036       YAFUKANO Store
83    aliexpress.com/store/5727184       Aliplay Store
84    aliexpress.com/store/5735065       Shop5735065 Store
85    aliexpress.com/store/5783558       Shop5783558 Store
86    aliexpress.com/store/5842212       Shop5842212 Store
87    aliexpress.com/store/5878127       UVRCOS Global Dropshipping Store
88    aliexpress.com/store/5888850       Shop5888850 Store
89    aliexpress.com/store/900250413     RANMO MG Store
90    aliexpress.com/store/900250452     Dropship-006 Store
91    aliexpress.com/store/910367388     LTXiXi Offlcial Store
92    aliexpress.com/store/910372332     QiShan Store
93    aliexpress.com/store/910429022     TENNYALEN LH COS Store
94    aliexpress.com/store/910715101     Ali_Welcome Store
95    aliexpress.com/store/910770020     katidai Store
96    aliexpress.com/store/910966057     Shop910966057 Store
97    aliexpress.com/store/910987081     Shop910987081 Store
98    aliexpress.com/store/911057235     Toprincess products Store
99    aliexpress.com/store/911065077     Shop911065077 Store
100   aliexpress.com/store/911109128     Shop911109128 Store
101   aliexpress.com/store/911124085     Shop911124085 Store
102   aliexpress.com/store/911223010     Anime Timing Store
103   aliexpress.com/store/911257071     Shop911257071 Store
104   aliexpress.com/store/911329084     Shop911329084 Store
105   aliexpress.com/store/911599860     ManCang Store
106   aliexpress.com/store/911712335     Tic-Young Store
107   aliexpress.com/store/911753744     BOGUO369 Store
108   aliexpress.com/store/911830483     Trendy shoe bag Store

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109   aliexpress.com/store/911929412      SSHQO Canton Store
110   aliexpress.com/store/911930949      Li tongtong Store
111   aliexpress.com/store/912073136      PEKO Backpack Factory Store
112   aliexpress.com/store/912135013      Woshinimendie Store
113   aliexpress.com/store/912161146      search Store
114   aliexpress.com/store/912162076      SHOESSHOP Store
115   aliexpress.com/store/912181919      DBLBAO Shoe Store
116   aliexpress.com/store/912230002      sanduohua Store
117   aliexpress.com/store/912243003      MaKuo Store
118   aliexpress.com/store/912257545      GuoFuDiYi NvXie Store
119   aliexpress.com/store/912262579      Very beautiful fashionable Store
120   aliexpress.com/store/912263378      Suker Store
121   aliexpress.com/store/912265429      muyguay Store
122   aliexpress.com/store/912270599      RICER Store
123   aliexpress.com/store/912271679      912271679 Store
124   aliexpress.com/store/912332156      Demie B Store
125   aliexpress.com/store/912340906      MLFYC Store
126   aliexpress.com/store/912348710      Good shoe store Store
127   aliexpress.com/store/912368342      DcLyy Store
128   aliexpress.com/store/912370969      wangwuer Store
129   aliexpress.com/store/912403414      meiliang Store
130   aliexpress.com/store/912407966      fangpu Store
131   aliexpress.com/store/912408483      Vines Store
132   aliexpress.com/store/912418750      Hudada888 Store
133   aliexpress.com/store/912458185      Jiangjunshan Shoe Store Store
134   aliexpress.com/store/912467841      YIAN Store
135   aliexpress.com/store/912469002      chao xie chao fu Store
136   aliexpress.com/store/912470161      Anime_ Store
137   aliexpress.com/store/912488124      Forward Courageously Store
138   aliexpress.com/store/912500748      WZSD888 Store
139   aliexpress.com/store/912513016      NO00009 Store
140   amazon.com/sp?seller=A1168CHHX8     TerryVictor Veblen
      75V8
141   amazon.com/sp?seller=A1321ABKNZ     longfengtao
      9C32
142   amazon.com/sp?seller=A1439OY625J    HaiLongDianZiChanPinDian
      VYO
143   amazon.com/sp?seller=A165R4MAGS     caiyunzhinan
      A91D
144   amazon.com/sp?seller=A17KSZ9EFC6    nanpingshijianyangqubaixiaoshunbaihuoshang
      7FC                                 hang
145   amazon.com/sp?seller=A17RFUF4C6T    zechengbaihuo
      834

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  Case: 1:21-cv-05701 Document #: 24 Filed: 11/04/21 Page 19 of 20 PageID #:1713




146   amazon.com/sp?seller=A185ITIVGBI7    sibosi
      KL
147   amazon.com/sp?seller=A1BII502KS3L    erhuStore
      3F
148   amazon.com/sp?seller=A1ICK8MCLY      ermuchenglin
      A7CW
149   amazon.com/sp?seller=A1MFCFQMI       PatrickRyan
      QJW82
150   amazon.com/sp?seller=A1OX7LU6KK      sanmenxiashihubinqumeidabaihuodian
      1IPB
151   amazon.com/sp?seller=A1R9W2HQ4O      qingzhuodianliao
      FKHH
152   amazon.com/sp?seller=A1S1ZS7M147     melodaytop
      6CJ
153   amazon.com/sp?seller=A1XBP0X4W3      Vivian Aurora Joyce
      D6LE
154   amazon.com/sp?seller=A260FTUAJO      Casey Henry Natalia
      X81V
155   amazon.com/sp?seller=A2CLI13QRB      TengDaTiYuYP
      RX5L
156   amazon.com/sp?seller=A2DXGWGE4       lichengqukai
      TLDF6
157   amazon.com/sp?seller=A2I34CBXUU      staring lucy
      F6C6
158   amazon.com/sp?seller=A2I4KUHOW       xisaishanquxiquedianzi
      UAM0L
159   amazon.com/sp?seller=A2I4OB08GLA     A2I4OB08GLA4PQ
      4PQ
160   amazon.com/sp?seller=A2IPVQV7LX      A2IPVQV7LXLK0R
      LK0R
161   amazon.com/sp?seller=A2JJ68Z8RKQ     dasuygggs25e
      679
162   amazon.com/sp?seller=A2JMG54OQY      Pu Tian Shi Zhi Ben Gao Mao Yi You Xian
      DS49                                 Gong Si
163   amazon.com/sp?seller=A2MJBTKBP4      AU&MU
      TP6W
164   amazon.com/sp?seller=A2N1IYMCD0      LcHongZhuo
      IF3X
165   amazon.com/sp?seller=A2P6GYR5065     HUmEierSI
      J2B
166   amazon.com/sp?seller=A2W6300QWT      WEIYANG
      GM2U
167   amazon.com/sp?seller=A35E8S7KCG      daixianronglebaihuozhan
      DERO
168   amazon.com/sp?seller=A36ALKGLPL      Jessica Laraine
      4PHM

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169   amazon.com/sp?seller=A38V5RHYD        nanfengxiansenmanshixiaoshoubu
      WCUHD
170   amazon.com/sp?seller=A396BMH1J9       A396BMH1J9MR6Q
      MR6Q
171   amazon.com/sp?seller=A3G30VLPWK       xinjiade
      IJWU
172   amazon.com/sp?seller=A3JRAOJNT14      Robert AaronLilyAustin
      JVQ
173   amazon.com/sp?seller=A3LDQXS3M5       kaitlynandrea judith
      0PNU
174   amazon.com/sp?seller=A3O6OCH0EB       Hebe IvyJanet
      WKTC
175   amazon.com/sp?seller=A3O6SQS50P       TooBetter
      HQWF
176   amazon.com/sp?seller=A3Q8W5A9J3       Ban Lu Shang Mao You Xian Gong Si
      BHSZ
177   amazon.com/sp?seller=A3R141OOU8       Fan Qi Shang Mao You Xian Gong Si
      YC8O
178   amazon.com/sp?seller=A609GM977FS      HaoWenjun
      VD
179   amazon.com/sp?seller=A7NM3OYTU        Shanxizhuanxingzonggaishifanquxuefuyuanquj
      380I                                  infengdi
180   amazon.com/sp?seller=A96TDXBCAR       Darcy Rachel Sylvia Moira
      FX0
181   amazon.com/sp?seller=AAZ752STDR       ASH FOOTWEAR
      R96
182   amazon.com/sp?seller=AFRUP8FIR5S      The coffeedomain
      4N
183   amazon.com/sp?seller=AHAXJDT8Y4       AELODGE
      QZ9
184   amazon.com/sp?seller=ALRDJB5OLL       ALSYIQI-US
      UC3
185   amazon.com/sp?seller=AP1W3RJPSDI      ganzhoumudijiajuyouxiangongsi
      Y9
186   amazon.com/sp?seller=AR4J27D7DR       KalikaTallulah KT
      UUR
187   amazon.com/sp?seller=AUQ5JY24KL       LongHuaMeiJiaJianZhu
      TFD
188   amazon.com/sp?seller=AWIAY6U423       New beginning-vip
      KSE
189   ebay.com/usr/nishihaozhang            nishihaozhang
190   wish.com/merchant/5b0f8f612c3c1d24    shijiebowuleiniu
      0b34ed4c




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